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Case 2:05-cr-20151-.]DB Document 17 Filed 06/30/05 Page 1 of 3 Page|D 20

 

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UNITED sTATEs oF AMERICA, GE%US_Q;SW%H
W OFE‘:'\;,AM
Plaintiff,
vs. NO. 05-20151

JOE HOWELL,

Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION TO DETERMINE COMPETENCY
TO STAND TRIAL

 

Before the Court is the defendant’s June 23, 2005,
motion requesting that the defendant undergo a mental
evaluation pursuant to 18 U.S.C. § 4241 and 4247(b). For
good cause shown, the defendant, Joe Howell, is ordered to
undergo a complete mental evaluation at a suitable federal
facility to determine whether he is mentally competent to
understand the nature and consequences of the proceedings
against him and to assist properly in his own defense and
to determine his competency at the time of the offense.

This matter is continued to October 3, 2005,for trial,
with a report date on September 26, 2005, at 9:30 a.m. The
continuance is necessary to allow the defendant to be

examined as to his mental competency and to allow both

parties additional time to prepare.

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Case 2:05-cr-20151-.]DB Document 17 Filed 06/30/05 Page 2 of 3 Page|D 21

Time is excluded under 18 U.S.C. §3161(h)(l)(A) and
under 18 U.S.C. § 3161(h)(8)(iv) to allow defendant to
undergo a mental evaluation and to allow counsel to

prepare.

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. aniel Breen \\\\
Unit d States District Judge

 
 

UNITED sTATE D"ISIC COURT - WESERNT D's'TRCT oFTENNESSEE

 

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J ames Edward Thomas

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Honorable J. Breen
US DISTRICT COURT

